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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America

      v.                                     Case No. 2:17-cr-138-1

Bernd D. Appleby

                                     ORDER
      By judgment entered on April 5, 2018, defendant was sentenced
to a term of incarceration of twenty-four months on Count 1 of the
information.      On September 9, 2019, the court received a letter
from the defendant requesting a reduction of his sentence, which
was docketed as a motion for reduction of sentence under 18 U.S.C.
§3582(c)(1)(A).       By order dated September 10, 2020, the court
denied the motion because defendant had not shown that he had
exhausted his prison administrative remedies.              This matter is now
before the court on defendant’s April 9, 2020, motion for release
from detention based on the COVID-19 pandemic.                 The government
opposes the motion.
      Under §3582(c)(1)(A), as modified by the First Step Act of
2018, the court may reduce a sentence of imprisonment upon motion
of the Director of the Bureau of Prisons, or upon motion of a
defendant     after     that    defendant      has   fully     exhausted     all
administrative rights to appeal a failure of the Bureau of Prisons
to file such a motion on a defendant’s behalf.               Specifically, the
district court has authority to rule on a motion of the defendant
      after   the    defendant   has   fully    exhausted   all
      administrative rights to appeal a failure of the Bureau
      of Prisons to bring a motion on the defendant’s behalf or
      the lapse of 30 days from the receipt of such a request
      by the warden of the defendant’s facility, whichever is
      earlier[.]

§3582(c)(1)(A).       If the defendant’s administrative remedies have
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been exhausted, the defendant can file a motion with the court
seeking     a   reduction    of   a   term     of   incarceration      based   on
extraordinary         and   compelling       reasons     for     the   reduction.
§3582(c)(1)(A)(i).
      This court cannot rule on defendant’s request for a reduction
of sentence under subsection (i) because no motion for a reduction
of sentence has been filed by the Director of the Bureau of
Prisons, and because defendant has not alleged or shown that he has
exhausted       his    administrative        remedies     as     required   under
§3582(c)(1)(A). See Guzman v. United States, No. 2:10-CR-161, 2019
WL 1966106, *2 (E.D.Tenn. May 2, 2019).                As the government notes,
many courts have held that the exhaustion requirement contained in
§3582(c)(1)(A) is jurisdictional and cannot be waived, even due to
emergencies such as the COVID-19 pandemic.                     See, e.g., United
States v. Raia, ___ F.3d ___, 2020 WL 1647922, at *2 (3d Cir. Apr.
2, 2020); United States v. Dickson, No. 1:19-cr-251-17, 2020 WL
1904058, at *2-3 (N.D. Ohio Apr. 17, 2020); United States v. Alam,
No. 15-20351, 2020 WL 1703881, at *2 (E.D. Mich. Apr. 8, 2020).
This court agrees with the reasoning of these courts.                  Defendant
must first exhaust his prison administrative remedies before filing
a motion for reduction of sentence under §3582(c)(1)(A), be it due
to COVID-19 concerns, his other health conditions, and any family
circumstances.
      Defendant also requests that he be permitted to serve the
remainder of his sentence on home confinement.                    The government
correctly notes that this court cannot order the Bureau of Prisons
to permit defendant to serve the remainder of his sentence on home
confinement.      It is the Bureau of Prisons, not this court, which


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has   the    authority     to   designate     the   pace    of   a   prisoner’s
imprisonment.      18 U.S.C. §3621(b); United States v. Townsend, 631
F. App’x 373, 378 (6th Cir. 2015).
      For the foregoing reasons, defendant’s request for a reduction
in his term of incarceration is denied without prejudice due to his
failure to exhaust his administrative remedies.


Date: April 20, 2020                    s/James L. Graham
                                  James L. Graham
                                  United States District Judge




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